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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     NEW ALBANY DIVISION

Jane Doe 1-8,                                          )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )       No. 4:22-cv-00094-SEB-DML
                                                       )
JAMEY NOEL in his official capacity as Sheriff         )
of Clark County,                                       )
DAVID LOWE individually and in his official            )
capacity as a jail officer of the Clark County Jail,   )
Unknown Jail Officers individually and in their        )
official capacities as jail officers of the Clark      )
County Sheriff's Department,                           )
                                                       )
                               Defendants.             )

                                       Order Screening Complaint

         Plaintiffs Jane Doe 1, Jane Doe 2, Jane Doe 3, Jane Doe 4, Jane Doe 5, Jane Doe 6, Jane

 Doe 7, and Jane Doe 8, by counsel, bring this action pursuant to 42 U.S.C. § 1983, on account of

 events that occurred at the Clark County Jail in October 2021.

         If any of the plaintiffs remain incarcerated, this Court has an obligation under 28 U.S.C.

 § 1915A(a) to screen the complaint before service on the defendants. If that is not the case, the

 Court may screen the complaint under its inherent authority to do so. See Rowe v. Shake, 196

 F.3d 778, 783 (7th Cir. 1999) ("[D]istrict courts have the power to screen complaints filed by all

 litigants, prisoners and non-prisoners alike, regardless of fee status.").

         In determining whether the complaint states a claim, the Court applies the same standard

 as when addressing a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6). See

 Cesal v. Moats, 851 F.3d 714, 720 (7th Cir. 2017). Based on this standard, the claims shall

 proceed as presented.
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       The clerk is directed to issue the proposed summons at docket [7]. The plaintiffs shall

complete service on the defendants consistent with Rule 4(m) of the Federal Rules of Civil

Procedure.

       The defendants shall respond to the motion to proceed under pseudonyms, dkt. [5], when

they file their answer to the complaint.

       IT IS SO ORDERED.


                                                   _______________________________
       Date: ___________________
                 7/26/2022
                                                     SARAH EVANS BARKER, JUDGE
                                                     United States District Court
                                                     Southern District of Indiana


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